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                                                               or ,~:-·,. 0 ii
 4                               UNiTEb's'rATE:S bf$TR'[CT COURT
 5                            SOUTHERN DISTRICT OF CALIFORNIA
                                                          ·v
 6                                    January 2019 Grand Jury
 7   UNITED STATES OF AMERICA,                                    -Case No.                      '20 CR1750JAH
 8                  Plaintiff,                                      I N D I C T ME N T
 9        v.                                                        Title 21, U.S.C., Secs. 952
                                                                    and 960 - Importation of
10   MICHAEL PATRICK HERNANDEZ,                                     Methamphetamine

11                  Defendant.

12        The grand jury charges:

13        On   or    about    May      29,            2020,         within            the    Southern        District    of
14   California,      defendant       MICHAEL                  PATRICK           HERNANDEZ        did   knowingly       and

15   intentionally      import        50         grams           and         more,          to   wit:   · approximately

16   457.5 grams      (1.00   pounds)            of        a    mixture           and. substance         containing a
17   detectable      amount      of    methamphetamine,                           a     Schedule        II    Controlled

18   Substance,     into   the United States from a                                   place outside thereof;             in
19   violation of Title 21, United States Code, Sections 952 and 960.
20        DATED: June 24, 2020.

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24   ROBERT S. BREWER, JR.
25   United~StAtt

26 By:     ~
     ,-..it L NDZIE M. CARTER
27        Assistant U.S. Attorney

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     LMC:cms:San Diego:6/23/20
